        Case 6:23-mj-00085-MK        Document 8      Filed 05/02/23      Page 1 of 9


                                                                                       NRESTRAINT,
                              U.S. District Court
                       District of Oregon (Eugene (6))
             CRIMINAL DOCKET FOR CASE #: 6:23−mj−00085−MK−1

Case title: USA v. Wise                                       Date Filed: 05/01/2023

Other court case number: 1:23−mj−00082 District of Columbia

Assigned to: Magistrate Judge
Mustafa T. Kasubhai

Defendant (1)
Jared L. Wise                        represented by Kurt David Hermansen
USM #56925−510                                      Oregon Federal Public Defender's Office
                                                    859 Willamette Street
                                                    Suite 200
                                                    Eugene, OR 97401
                                                    (541) 465−6937
                                                    Fax: (541) 465−6975
                                                    Email: Kurt_Hermansen@fd.org
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED
                                                    Designation: Public Defender or Community
                                                    Defender Appointment

Pending Counts                                      Disposition
None

Highest Offense Level (Opening)
None

Terminated Counts                                   Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                          Disposition
18:1752(a)(1) − Knowingly
entering or remaining in any
restricted building or grounds
without lawful authority;

                                                                                                Page 1
         Case 6:23-mj-00085-MK          Document 8    Filed 05/02/23     Page 2 of 9


18:1752(a)(2) − Knowingly, and
with intent to impede or disrupt
the orderly conduct of
Government business or official
functions, engage in disorderly or
disruptive conduct in, or within
such proximity to, any restricted
building or grounds when, or so
that, such conduct, in fact,
impedes or disrupts the orderly
conduct of Government business
or official functions; or attempts or
conspires to do so;
40:5104(e)(2)(D) − Utter loud,
threatening, or abusive language,
or engage in disorderly or
disruptive conduct, at any place in
the Grounds or in any of the
Capitol Buildings with the intent
to impede, disrupt, or disturb the
orderly conduct of a session of
Congress or either House of
Congress, or the orderly conduct
in that building of a hearing
before, or any deliberations of, a
committee of Congress or either
House of Congress;
40:5104(e)(2)(G) − Parade,
demonstrate, or picket in any of
the Capitol Buildings.



Plaintiff
USA                                           represented by Jeffrey S. Sweet
                                                             United States Attorney's Office
                                                             405 E. Eighth Avenue
                                                             Suite 2400
                                                             Eugene, OR 97401
                                                             541−465−6771
                                                             Fax: 541−465−6917
                                                             Email: jeff.sweet@usdoj.gov
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED
                                                             Designation: Retained

                                                             Gavin W. Bruce
                                                             U.S. Attorney's Office
                                                             405 E. 8th Avenue
                                                             #2400
                                                             Eugene, OR 97401
                                                             541−465−6771


                                                                                               Page 2
       Case 6:23-mj-00085-MK        Document 8        Filed 05/02/23      Page 3 of 9


                                                             Fax: 541−465−6917
                                                             Email: Gavin.Bruce@usdoj.gov
                                                             TERMINATED: 05/02/2023
                                                             Designation: Retained
Email All Attorneys

Date Filed     # Page Docket Text
05/02/2023     6       Notice of Withdrawal of Government Attorney: Attorney Gavin W. Bruce
                       withdraws as counsel of record for the United States of America. (Bruce, Gavin)
                       (Entered: 05/02/2023)
05/01/2023     7       Brady Disclosure Order: Pursuant to the Due Process Protections Act, the
                       government is advised of its obligations under Brady v. Maryland, 373 U.S. 83
                       (1963) and its progeny. See attached Order signed on 5/1/2023 by Magistrate
                       Judge Mustafa T. Kasubhai. (jk) (Entered: 05/02/2023)
05/01/2023     5       Order Setting Conditions of Release as to Defendant Jared L. Wise. Signed on
                       05/01/2023 by Magistrate Judge Mustafa T. Kasubhai. (libr). (Additional
                       attachment(s) added on 5/2/2023: # 1 Attachment Release order signed by the
                       defendant) (cw). (Entered: 05/01/2023)
                       Main Document (Not Attached)
                       Attachment # 1 Attachment Release order signed by the defendant
05/01/2023     4       Order Requiring Defendant to Appear in District Where Charges are Pending and
                       Transferring Bail as to Jared L. Wise. (jk) (Entered: 05/01/2023)
05/01/2023     3       Waiver of Rule 5 and 5.1 Hearings by Jared L. Wise. (jk) (Entered: 05/01/2023)
05/01/2023     2       Minutes of Proceedings: Initial Appearance pursuant to Rule 5(c)(3) for Arrest
                       in Our District Offense in Another. Proceedings before Magistrate Judge Mustafa
                       T. Kasubhai as to Jared L. Wise. Order granting the government's oral motion to
                       unseal. Order appointing AFPD Kurt David Hermansen as counsel. Defendant
                       advised of rights and waived reading of the charges. Defendant waived
                       preliminary/identity hearing. Brady Disclosure Order: Pursuant to the Due
                       Process Protections Act, the government is advised of its obligations under
                       Brady v. Maryland, 373 U.S. 83 (1963) and its progeny. Defendant is removed
                       to District of Columbia case number 1:23−mj−00082 for appearance on
                       5/9/2023 at 1:00PM in Courtroom 4 by Zoom before Magistrate Judge Zia
                       M. Faruqui. Counsel Present for Government: Jeffrey Sweet. Counsel Present
                       for Defendant: Kurt Hermansen. Restraint Order: NR. (USPTO Present: Lisa
                       Brown) (FTR − Eugene Courtroom 3) (jk) (Entered: 05/01/2023)
05/01/2023     1       Documents Received From Other Court as to Jared L. Wise from District of
                       Columbia Case No: 1:23−mj−00082. Initial Appearance is set for 5/1/2023 at
                       01:30PM in Eugene Courtroom 3 before Magistrate Judge Mustafa T. Kasubhai.
                       (Attachments: # 1 Affidavit in Support of Criminal Complaint, # 2 Arrest
                       Warrant, # 3 Order to Seal) (jk) (Entered: 05/01/2023)




                                                                                                  Page 3
                     Case
                      Case6:23-mj-00085-MK
                           6:23-mj-00085-MK Document
                                            Document 83 Filed
                                                        Filed 05/01/23
                                                              05/02/23 Page
                                                                        Page14ofof19

AO 466A (Rev. 12/17} Waiver of Ruic 5 & 5.1 Hearings (Complaint or Indictment)


                                      UNITED STATES DISTRICT COURT                                                            FILED 01 MAY '2314GB USDC·iJRE
                                                                         for the
                                                                 District of Oregon

                 United States of America                                   )
                                V.
                                                                            )          Case No. 6:23-mj-00085-MK
                                                                            )
                       JARED L. WISE                                        )
                                                                            )          Charging District's Case No.           1:23-mj-00082
                            Defendant                                       )

                                                 WAIVER OF RULE 5 & 5.1 HEARINGS
                                                      (Complaint or Indictment)

          f understand that I have been charged in another district, the (name o.f other court)
                                                          DISTRICT OF COLUMBIA

          I have been informed of the charges and of my rights to:

          (1)       retain counsel or request the assignment of counsel if 1 am unable to retain counsel;

          (2)       an identity hearing to determine whether I am the person nan1ed in the charges;

          (3)       production of the warrant, a certified copy of the warrant, or a reliable electronic copy of either;

          (4)       a preliminary hearing to determine whether there is probable cause to believe that an offense has been
                    committed, to be held within 14 days of my first appearance if I am in custody and 21 days otherwise,
                    unless I have been indicted beforehand.

          (5)       a hearing on any motion by the government for detention;

          (6)       request a transfer of the proceedings to this district under Fed. R. Crim. P. 20, to plead guilty.

          l agree to waive my right(s) to:
                    an identity hearing and production of the warrant.
                    a preliminary hearing. .;_,          c:)~
                    a detention hearing.                                           .
          0         an identity hearing, production of the judgment, warrant, and warrant application, and any preliminary
                    or detention hearing to which I may be entitled in this district. I request that my
                    0 preliminary hearing and/or O detention hearing be held in the prosecuting district, at a time set by
                    that court.

       I consent to the issuance of an order requiring my appearance in the prosecuting district where the charges are
pending against me.


Date:      5 JI / 2.o 2--'3

                                                                                          Signature of defendant's attorney


                                                            --~~ :Dll-v-, u                                tfu:g.wi,jJ\.JseJ
                                                                                         Printed name of defendant's attorney



                                                                                                                                               Page 4
                      Case
                       Case6:23-mj-00085-MK
                            6:23-mj-00085-MK Document
                                             Document 84 Filed
                                                         Filed 05/01/23
                                                               05/02/23 Page
                                                                         Page15ofof19


AO 467 (Rev. 01/09) Order Requiring a Defendant to Appear in the District Where Charges arc Pending and Transferring Bail


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                                   District of Oregon

                   United States of America                                    )
                                  V.                                           )       Case No. 6:23-mj-00085-MK
                        JARED L. WISE                                          )
                                                                               )       Charging District:           District of Columbia
                              Defendant                                        )       Charging District' s Case No. 1 :23-mj-00082



                      ORDER REQUIRING A DEFENDANT TO APPEAR IN THE DISTRICT
                        WHERE CHARGES ARE PENDING AND TRANSFERRING BAIL

         After a hearing in this court, the defendant is released from custody and ordered to appear in the district court
.where the charges are pending to answer those charges. If the time to appear in that court has not yet been set, the
 defendant must appear when notified to do so. Otherwise, the time and place to appear in that coutt are:

Place: 333 Constitution Avenue N.W.                                                    Courtroom No.: Courtroom 4 via Zoom
       Washington, D.C. 20001
                                                                                       Date and Time : 5/9/2023 1 :00 pm

         The clerk is ordered to transfer any bail deposited in ti                                f this court to the clerk of the court where the
charges are pending.



Date:     ..:;/   I   /t 3                                                                                 .Judge's signature


                                                                                MUSTAFA T. KASUBHAI, U.S. MAGISTRATE JUDGE
                                                                                                        Printed name and title




           RECORDlNG AUDIO OR VIDEO OF ANY COURT PROCEEDING                                              rs STRICTL y PROHIBITED BY
           FEDERAL LAW.
           Time: This is a re~_u ning meeting Meet anytime

           Join ZoornGov Meeting
           https://uscourts-dcd .zoomgov .com/j/16 l 5439875?pwd=M I Jn WVV6bjBPTnF3 MO 10SzdtMONwZz09

           Meeting ID : 161 543 9875.
           Passcode: 926057




                                                                                                                                               Page 5
                      Case 6:23-mj-00085-MK Document
                                            Document5-1
                                                     8 Filed
                                                        Filed05/02/23
                                                              05/01/23 Page 6
                                                                            1 of 9
                                                                                 2




                                            UNITED STATES DISTRICT COURT
                                             FOR THE DISTRICT OF OREGON

  UNITED STATES OF AMERICA                                                                                    ORDER SETTING CONDITIONS
               v•                                                                                                           OF RELEASE

  Jared Lane Wise                                                                                               Case Number: 6:23MJ00085-1-MK

IT IS ORDERED that the release of the defendant is subject to the following conditions:

(1)       The defendant shall not commit any offense in violation of federal, state or local law while on release in this case.

(2)       The defendant must cooperate in the collection of a DNA sample if the collection is authorized by 42 U.S.0 § 14135a.

(3)       The defendant shall immediately advise the court through Pretrial Services or defense counsel in writing of any change in
          address and telephone number.

(4)       The defendant shall appear at all proceedings as required and shall surrender for service of any sentence imposed as directed.
          The defendant shall next appear as directed by U.S. District Court.

                                                         Additional Conditions of Release

IT IS FURTHER ORDERED that the defendant be released provided that the defendant:
      't~v. Report to U.S. Pretrial Services by telephone every Tuesday during business hours of 8-5.
      to • No travel outside of the continental U.S. without Court approval.
     'S`. . Neither own, possess, nor control any firearm (or any weapon).
     d~ • You are to advise Pretrial Services of any travel outside of your home jurisdiction prior to traveling.
            The defendant is to remain off any/all Capital grounds.
      3.~ . Surrender any passport or international travel documents to Pretrial Services or submit a statement to Pretrial Services
            that the defendant does not possess a passport or international travel documents. The defendant is not to apply for a new
            passport or international travel documents.


                                                         Advice of Penalties and Sanctions

TO THE DEFENDANT:

          YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

           A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a revocation of
release, an order of detention, forfeiture of bond, and a prosecution for contempt of court and could result in a term of imprisonment, a fine, or both.

            The commission of any crime while on pre-trial release may result in an additional sentence to a teen of imprisonment of not more than ten
years, if the offense is a felony; or a teen of imprisonment of not more than one year, if the offense is a misdemeanor. This sentence shall be in
addition to any other sentence.

           Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to intimidate or attempt to
intimidate a witness, victim, juror, informant or officer of the court, or to obstruct a criminal investigation. It is also a crime punishable by up to ten
years of imprisonment, a $250,000 fine or both, to tamper with a witness, victim or informant, or to retaliate against a witness, victim or informant, or
to threaten or attempt to do so.

         If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence, you may
be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:

(1)       an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you shall be fined not more than
          $250,000 or imprisoned for no more than ten years, or both;

(2)       an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall be fined not more than
          $250,000 or imprisoned for no more than five years, or both;




                                                                                                                                                     Page 6
                       Case 6:23-mj-00085-MK Document
                                             Document5-1
                                                      8 Filed
                                                         Filed05/02/23
                                                               05/01/23 Page 7
                                                                             2 of 9
                                                                                  2



(3)       any other felony, you shall be fined not more than $250,000 or imprisoned no more than two years, or both;

(4)       a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both;

           A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense. In addition, a
failure to appear may result in the forfeiture of any bond posted.

                                                           Acknowledgment of Defendant

           I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions of
release, to appear as directed, and to surrender for service of any sentence imposed. I am aware of the penalties and sanctions set forth above.




                                                                                                          Signature of Defendant

                                                                                                   ~3c-~~~, viz              9 7 ~~~
                                                                                                              City, State &Zip

Special Needs Finding:
Based upon the above conditions, including the conditions relating to:
❑       Alcohol detection
❑       Drug detection
❑       Computer monitoring
The Court is reasonably assured the defendant will appear as directed and not pose a danger to the community or any other person.

Directions to the United States Marshal
        The defendant is ORDERED released after processing.
        The defendant is ORDERED temporarily released.
         The United States Marshal is ORDERED to keep the defendant in custody until notified by the clerk, Pretrial Services or
         judicial officer that the defendant has posted bond and/or complied with all other conditions for release including space
         availability at a community corrections center or residential treatment facility. If still in custody, the defendant shall be
         produced before the duty Magistrate Judge on                                       at


Date:      May 1, 2023

                                                                                                     Signature of Judicial Officer
                                                                                                       Mustafa T. Kasubhai
                                                                                                        U.S. Magistrate Judge
                                                                                                 Name and Title of Judicial Officer




cc:      Defendant
         US Attorney
         US Marshal
         Pretrial Services




2




                                                                                                                                                      Page 7
         Case
          Case6:23-mj-00085-MK
               6:23-mj-00085-MK Document
                                Document 87 Filed
                                            Filed 05/01/23
                                                  05/02/23 Page
                                                            Page18ofof19

                                UNITED STATES DISTRICT COURT

                                        DISTRICT OF OREGON



UNITED STATES OF AMERICA                                           Case No.: 6:23−mj−00085−MK−1
   Plaintiff,

v.                                                                 BRADY DISCLOSURE ORDER

JARED L. WISE
   Defendant.


     Under federal law, including Rule 5(f) of the Federal Rules of Criminal Procedure, Brady v.
Maryland, 373 U.S. 83 (1963), and all applicable decisions from the Supreme Court and the Ninth
Circuit interpreting Brady, the government has a continuing obligation to produce all information or
evidence known to the government relating to guilt or punishment that might reasonably be considered
favorable to the defendant's case, even if the evidence is not admissible so long as it is reasonably likely
to lead to admissible evidence. See United States v. Price, 566 F.3d 900,913 n.14 (9th Cir. 2009).
Accordingly, the court orders the government to produce to the defendant in a timely manner all such
information or evidence.

    Information or evidence may be favorable to a defendant's case if it either may help bolster the
defendant's case or impeach a prosecutor's witness or other government evidence. If doubt exists, it
should be resolved in favor of the defendant with full disclosure being made.

     If the government believes that a required disclosure would compromise witness safety, victim
rights, national security, a sensitive law−enforcement technique, or any other substantial government
interest, the government may apply to the Court for a modification of the requirements of this Disclosure
Order, which may include in camera review and/or withholding or subjecting to a protective order all or
part of the information.

     This Disclosure Order is entered under Rule 5(f) and does not relieve any party in this matter of any
other discovery obligation. The consequences for violating either this Disclosure Order or the
government's obligations under Brady include, but are not limited to, the following: contempt, sanction,
referral to a disciplinary authority, adverse jury instruction, exclusion of evidence, and dismissal of
charges. Nothing in this Disclosure Order enlarges or diminishes the government's obligation to disclose
information and evidence to a defendant under Brady, as interpreted and applied under Supreme Court
and Ninth Circuit precedent. As the Supreme Court noted, "the government violates the Constitution's
Due Process Clause 'if it withholds evidence that is favorable to the defense and material to the
defendant's guilt or punishment."' Turner v. United States, 137 S. Ct. 1885, 1888 (2017), quoting Smith
v. Cain, 565 U.S. 73, 75 (2012).


     DATED this 1st day of May, 2023                     /s/Mustafa T. Kasubhai

                                                         Honorable Mustafa T. Kasubhai
                                                         United States Magistrate Judge.




                                                                                                               Page 8
          Case
           Case6:23-mj-00085-MK
                6:23-mj-00085-MK Document
                                 Document 86 Filed
                                             Filed 05/02/23
                                                   05/02/23 Page
                                                             Page19ofof19




NATALIE K. WIGHT, OSB #035576
United States Attorney
District of Oregon
GAVIN W. BRUCE, OSB #113384
Assistant United States Attorney
Gavin.Bruce@usdoj.gov
405 E 8th Avenue, Suite 2400
Eugene, OR 97401
Telephone: (541) 465-6771
Attorneys for United States of America




                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON


UNITED STATES OF AMERICA                            6:23-mj-00085-MK

               v.
                                                    NOTICE OF WITHDRAWAL OF
JARED L. WISE,                                      GOVERNMENT ATTORNEY

              Defendants.

       Please be advised that Gavin W. Bruce, Assistant United States Attorney, withdraws as

counsel of record for the United States in the above-captioned case.

       Dated: May 2, 2023.

                                                    Respectfully submitted,

                                                    NATALIE K. WIGHT
                                                    United States Attorney

                                                    /s/ Gavin W. Bruce
                                                    GAVIN W. BRUCE, OSB #113384
                                                    Assistant United States Attorney




Notice of Withdrawal of Government Attorney                                            Page 1



                                                                                                Page 9
